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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

OVERWELL HARVEST LIMITED,                    )
a British Virgin Islands company,            )
                                             )
Plaintiff,                                   )
                                             )         Civil Action No.
                       v.                    )
                                             )         The Honorable
DAVID WIDERHORN and                          )
PAUL GIEDRAITIS,                             )
                                             )
Defendants.                                  )

                      CORPORATE DISCLOSURE STATEMENT

         Pursuant to Fed. R. Civ. P. 7.1, Plaintiff Overwell Harvest Limited, through its

undersigned counsel, certifies that Overwell Harvest Limited, as of this date, does not

have a parent corporation and that no publicly held corporation holds 10% or more of its

stock.

Dated: August 21, 2017                           By: /s/ John J. Scharkey
                                                   John J. Scharkey
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